911 F.2d 724Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Danny B. ROBBINS, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 90-1452.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1990.Decided July 25, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Charles E. Simons, Jr., Senior District Judge.  (C/A No. 89-813-3-6B)
      Danny B. Robbins, appellant pro se.
      Wistar Daniel Stuckey, Assistant United States Attorney, Columbia, S.C., for appellee.
      D.S.C.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Danny B. Robbins appeals from the district court's order dismissing without prejudice petitioner's civil complaint seeking reinstatement to active duty in the United States Army.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.*   Accordingly, we affirm on the reasoning of the district court.  Robbins v. United States, C/A No. 89-813-3-6B (D.S.C. Mar. 14, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We also hold that the district court properly denied Robbins' Fed.R.Civ.P. 59 motion for reconsideration
      
    
    